Case 8:21-cv-00352-MSS-CPT Document 8 Filed 07/13/21 Page 1 of 2 PageID 17




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

MICHAEL DEMARAIS,

       Plaintiff,

v.                                                  Case No: 8:21-cv-352-MSS-CPT

TRUEGREEN, L.P.,

       Defendant.


                ORDER OF DISMISSAL WITHOUT PREJUDICE

       Upon review of Plaintiff’s Notice of Settlement, (Dkt. 6), and pursuant to Fed.

R. Civ. P. 41(a)(1), it is hereby

       ORDERED that pursuant to Rule 3.09(b) of the Local Rules of the United

States District Court for the Middle District of Florida, this case is DISMISSED

WITHOUT PREJUDICE, subject to the right of the Parties, within sixty (60)

calendar days from the date of this Order, to submit a final stipulation of dismissal,

should they so choose, or for any party to reopen the case, upon good cause shown.

After the sixty (60)-day period, the dismissal shall be with prejudice. Any pending

motions are DENIED as moot. The Clerk is directed to CLOSE this case.

       DONE and ORDERED in Tampa, Florida this 13th day of July 2021.
Case 8:21-cv-00352-MSS-CPT Document 8 Filed 07/13/21 Page 2 of 2 PageID 18




Copies furnished to:
Counsel of Record
Any Unrepresented Party
